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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ELLEN UMANSKY                               :
                                            :
       v.                                   :       CIVIL ACTION NO.: 2:17-cv-04712
                                            :
MELTON INTERNATIONAL                        :
TACKLE, et al.                              :


                         PLAINTIFF’S REQUEST FOR DEFAULT

TO THE PROTHONOTARY:

       Kindly enter default against non-responsive Defendant, Melton International Tackle, Inc.

for failure to file a responsive pleading to Plaintiff’s Second Amended Complaint pursuant to

Federal Rule of Civil Procedure 55.



                                                    WEISBERG LAW

                                                    /s/ Matthew B. Weisberg
                                                    Matthew B. Weisberg, Esquire
                                                    L. Anthony DiJiacomo, III, Esquire
                                                    Attorneys for Plaintiff
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                                              :
       v.                                     :      CIVIL ACTION NO.: 2:17-cv-04712
                                              :
MELTON INTERNATIONAL                          :
TACKLE, et al.                                :


                                 CERTIFICATE OF SERVICE

       I, Matthew B. Weisberg, Esquire, hereby certify that on this 5th day of June, 2018, a true

and correct copy of the foregoing Plaintiff’s Praecipe for Default was served via e-filing on all

counsel of record and via regular mail upon all unrepresented parties as follows:

Marissa Edwards, Esq.
Ballard Spahr Andrews & Ingersoll, LLP
1735 Market Street, 51st Floor
Philadelphia, PA 19103-7599
Counsel for Discover Defendants

Melton International Tackle
1375 S. State College Blvd.
Anaheim, CA 92806
Unrepresented
                                                     WEISBERG LAW

                                                     /s/ Matthew B. Weisberg
                                                     Matthew B. Weisberg, Esquire
                                                     L. Anthony DiJiacomo, III, Esquire
                                                     Attorneys for Plaintiff
